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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

MARLIN GAS TRANSPORT, INC.,
and NEIL ENERSON,

        Plaintiffs,

v.                                                Case No. 8:12-cv-02421-EAK-TGW

LNG ENERGY SOLUTIONS, LLC,

       Defendant.
_______________________________/

                                         MEDIATION REPORT

        In accordance with the Court’s mediation order, a mediation conference was held on November
13, 2013, and the results of that conference are indicated below:

        (a)     The following individuals, parties, corporate representatives, and/or claims professionals
attended and participated in the mediation conference, and each possessed the requisite authority:

        All individual parties and their respective trial counsel, and designated corporate representatives.

         (b)     The following individuals, parties, corporate representatives, and/or claims professionals
failed to appear and/or participate as ordered:

        None.

        (c)      The outcome of the mediation was:

       The case has been completely settled. In accordance with Local Rule 9.06(b), lead counsel will
promptly notify the Court of settlement in accordance with Local Rule 3.08 by the filing of a settlement
agreement signed by the parties and the mediator within ten (10) days of the mediation conference.

Done this 15th day of November, 2013 in Tampa, Florida.

                                                                           /s/ Jonathan C. Koch
                                                                           Jonathan C. Koch, Mediator
                                                                           Fla. Bar #364525
                                                                           BUSH ROSS, P.A.
                                                                           1801 North Highland Avenue
                                                                           Tampa, Florida 33602
                                                                           (813) 224-9255
                                                                           (813) 223-9620 fax
                                                                           jkoch@bushross.com




                                                                                                     1551754.1
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                                   CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Mediation Report has been served to counsel of record via
the CM/ECF system on this 15th day of November, 2013.

                                                                       /s/ Jonathan C. Koch
                                                                       Mediator




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